Case 2:19-cr-20026-GAD-EAS ECF No. 110-5 filed 09/05/19 PagelD.684 Page 1 of 35

Attachment D

 
i

_ Case 2:19-cr-20026-GAD-EAS._ ECF No. 11Q:5) Tied 09/05/19 PagelD.6850 IPAGA2DABS5 | ~~

  
    
   
  

 
   

 

oe 4 3
A “

ROLL NO. J 247- SUBS

 

. om!
NAME Sanksh ~ Ke dds STDANLS¢g see: LL.

 

Yeacher’s
&S No, mie Tithe Page No.) Stan/
Hemarks

 

 

 

 

 

 

 

 

 

 

 

 

cel porn egal

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ae
. 4
*
‘

 

 

 

 

 

 

 

 

 

 

 

 
 

Case.2:19-cr-20026-GAD-EAS..ECF No. 110-5 - filed 09/05/19. PagelD.686

Page

 

 

   
 

eS pe ie POE PE
is

Lenco fg
poliisthe Et,
ne ap i —/
Fibresiek facldey Honumorthus
Sn MoH, Radda. Crotty pall,
4d PJ
Subhash Get
SS h Cash Lank, korijavlo

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ws Sar krishrn Pagau
i Rajesh Brsoru
3 a a
22) Phanindhar bax Sono
3) Mehoy Chandan Chintole
+) Bhaxot — Rielly Kort 2p cdg
Ht Hash. Vatel hon Thedkopally
6) | Shiva bumar. Pods ~
cm) _ Pak Leja. Puctyolon
8) Bhonu kon Prxula
1a) Suregh —_Pigtl!
20) Asgun Keddy Derr’
co ai) Azo. kurt Padmaneghula
82) Astiay. tumay Lothbuxr
_ 23) Dvds, bumay —_. Metharr.
_ a4) Mon Sho vot lotto.
my, Spocdane Now Kort!
26) Avinosh “Thok alapo, by
a *) les eshte, 1On4¢ Mudd aduccd
28) Aeaeacleeiwoar Pap upolly
Jos yd
24.) Mo hes ho eg tap . ,
2d)|_N Dgo.ven kata I 1ocliu v1 Sim ampa.ll’
21") Prone th. Puontinc
BW) Mountica__ lag Red dy

 

 

 

o; a,
| Shiva pratad ~ Gummela.

 

 

 
:19-cr-20026-GAD-EAS ECF No..110-5.. filed 09/05/19 . PagelD.687.

 

 

me

Sand Ley Bokunn

*

“hr

 

Ye VE Arse f moO hes

 
Case 2:19-cr-20026-GAD-EAS ECF No. 110-5 filed 09/05/19 PagelD.688 Page 50

 

 

 

   

 

 

 

 

 

 

 

 

 

 

a g gated aye
™
eS MALIA
“Pes Sat ‘konth Yolle,
%

 

Bowen vy ka roy Vodes pal Lu’
FD Dyov. Kumog _ besduunneel

3) Seo car lehny Ve Neeewslapal a
1) Sue the Kewnespta

25) Sand ot) Venkuman Hy

| Rates 4 Manns
NiPyp Jonanns aralle
Hs)! Satkeunth kobdes

tL 3 andee) kumroy — Maybdury
.£b) | Anwop Soa Raddy Paschal

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

£1) : Rave. Lab Arramanenl .
c #1) | AShwin Yada Abmrmala Ramesh
. £3) ! Nrten Janonmandla

: £y) | Abhilash — tmadhavaxam

| £5) Kerthite Rede  Buehanolln

 

 

: 86) | Sree Nitta Yo Ket lo
#4). Snetash Rid, Chernorlss
: ez) | Sus 2th Dowd Onc es
4) thufloe Rade kalan
90) Savon ahh.

: 4 1) Sound dep? Pons ‘ipo, ly’

42) | Satish  Kurnat . ‘Goue! ICary erclen

43) | Molbiraszin Moled otu
. 44) ! Prrorietars Pare Reeressprsrab £3. adllg é.
—_ 45) _ Baia My Pod de Yadavoalh’

q 6.) Far #ony up ocle,

at) Prem Lu wrrerg Re nopens 0:

G8) Sof patty poven.Pintela

44) Mesh S00 Mors

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
|

 

 

 

 

 

 

i
Ie) Varnshi by LS AIDE,

lov) | 5S Ouccvet Necxutondn

102. ),, _ Sar bvig hing kant

Vermmova vOLy
lod) Ano ap Wess Chinnt-1
128) Malli'tatun Red dy?

10.5) | Raja Sf heleoy _Gomotla i

 

 

 

 

 

 

198) Appersani  Shravary

 

 

7 : Santmsh Lod ty Jann’ -

Aid oash Ieaddy ~ Donegan
uo
04.) Ashish  Gajulo.
iI bo) | ko het Prdde Borur

—/
LH) | Vornsht Ree hamolla
lh 2) Ant) Dod dy Keaandantta

_. NB) | Nowval keshove. _Kadoare

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Venvotasuiornnn tb OM oe
5) Kougot Swaxpap.

6) raphammed — gohmel
1 13). Pra Heath a Mamidelo

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

i
ne _ aa si ~ a
nena ne aman iene —— _
i
i
4
sean ain _
i
i sateen ETE Hh hatte ne ge ae in

 

   

 

 
2:19-cr-20026-GAD-EAS ECF No. 110-5 filed 09/05/19 PagelD.690... Page 7 of 3

 

 
 

 

 

Page 8 of 3!

 

 

 

   

 

 

 

 

 

 

 

 

 

Pauindis Dosghetla
Venkonns Rowe pluxd, ry
Pry thay. Kure i SS ony!
Ravi Pellamtvonda -— +
Sot Sarstnsh Grophs hedly —#
Dee pti Koshi dhun! @,

Qounthel. Sogot Ree bo konclo.
VU oO
- Morn ay. fumes. Alo nyo, lin.
13). Soma ghebat Plazolo
i Fin?) Bhosk at Pcl Peanm ~- +
S Ob Chand “Ta lupu la :
| Vem? otal oxi Orc 10p).. __katox!
_ Hem pal Gn

 

Syren Vo ey Kn Users

tl eaeré Meadauxe

 

Soh beds Nagola.

2) Shiva Bhar Ew hoa Karatutary
| 2.)) Shyan___Prasool  Dodda

ABD] Sireclerp Mad of. yell

 

4 2H )) Prnshantt @rouc!_ Balosavi.
: 25). Har’ Krishna Bands

 

oé 2, Rn “VLA Vermury YO, te

 

22), Same Share ®)
29) ‘Mireok kxishno, oud th bay’

 

2 9) Ver rata Shiva LEvishnd Thanika nda

 

30) Sri Teja Chava —_&
31) Proma — lilta -_ +

BO

 

 

 

32) Bola choantan lade kKorwwro Reell
3.3) Prane..tHy Yacloy Vangurxu +

 

 

 

 

 
  
   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

>

ea

 

 

 

 

 

 

 

 

 

‘ 6. é +P siete
a Ba eg od sf
a = “Boat Daiasr =

 

 

 

 

 

 

oD) —~ Arnvess; a “Kawase Papa —t

) Dinesh Didd ila

 

 

beh de: Bhanu Chunchy- #
Bharath  Bachala

+e) Venkata Moidu Pe Mprnas0r)

 

 

eh). Buodldala Mohan Uioovell
/ AGB), Lev Prasac! lontn. x
ov

-. 48) Pavan _turrayPiipiones maonery

 

 

 

42)

 

4D Rebon Bonuy

ocean

6). ki&hore._ Adapo

 

 

Aditya Poel, ko Chagarste
J SI U
48s Shoshone ~ Poralo

 

 

 

 

 

5d) | Machu Sudhon  Pedda  Rezouwocls

 

 

 

 

 

 

x Preece arin &
BY ~kamesh~Palvar——

 

 

 

 

 

 

 

 

a 64) Te e7adu) feos maga ah’
a 55). Rona — aL Kurmoax 1)no0lo,

BY) Shtyers baa -

 

 

 

54)! Attain Lal As kanmantlha
_ Serigrashe ttt

 

 

5b) <Sounclant, Reg Pres hanna

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5 D). Bela. os _ Dury __ _ Lotaxle NRA
Eb) ! Gopi Lt. Oudary Ramipaty ’
62) | tea -
63) _
~b4) My Ambala
BAY °

 

 
 

Cas e219: 67220026-GAD-EAS ECE No: ‘410-5~ filed 09/05/4-9-- PagelD.693-..Page.10.0

eae gine
e

Soe i

 

 

 

“ aa
(Norgava ragls (P)

 

 

 

 

 

SE Sas ed da Hapada aT t

 

 

 

 

 

 

 

 

o£ 5 . Co

SA forgone. Lehay Pf AT

Be, - ff} | Vv dud. ra
SB) A hawety conmrrhapu —
L

 

4) ph Diddle SF
th) Uda: Bhanu  Chunchy-
- #3) . B axe}, Bat holo
tly) | Venkata  Oaoldu  Perrnasoos
Lely) Buddala Mohan Vanadl, |
AGa kay pxasec! lana x
a

“6 2. Pawturr Carre ¥. Pippner Manery

 

. 42 Pelitbye 1 ko dui ate
U2) Shoshone ~ Poralo

 

 

 

49) Rehon Boanuxs

5D), Madhu Sudhan  Luldy  ReZawacla
51) Lik hove. Adapo
£b)—Rameash—Pahar——

2

 

 

Padua? <o .
5 Tih Merino Gy retell eg elergeare

 

9) Feet. Panugantt”
* 7

 

 

 

 

 

8

55), 2 wv. phon Kumar. fort,
5s, di AL Asp Jad dug konomantha
Bx) Shivers bia Yevye mashe ttt.
5k) | Soundaw Pay Pres jenna.

 

| VU
5 q) £2 ala Adage Louvkd Potaxlo ry EA

 

 

Bb) Gopi” Chowdary Komipaty r

 

 

 

 

 

 

 

 

 

 

 

 

65). Soni) Babu Bocclow
 

 
_ Case j2:19-cr-20026-GAD-EAS ECF No. 110-5 filed 09/05/19 P 6 Page 12 of 35

Fh

 

 
 

 

 

 

ro dn. i,
Sal

 

 

Shu, Bue My Sonury
Sriniva &  Gaonk
i & 7 ss “3 D4
LAY YA] Sao 1o_. uuinany Pitarm .
Monica AVnnbed & x
AED Sab le moby — Grete A
m= ¥
1S) Soh? Has Etc cenespabls . x

 

WY) Provemn Red de, Edda ¥
nl >. Buroayeslwame ~ Badd. Patonts x

¥

iL) i Fos Men clo V ~ @) x
'#) She ray Vplloa Xx

_ 18). Dorin Pict, K

|< Stcl Aad Dood tule Xx

ty ! —Starye Fefo X

| an | Pearesth Povjitta Buctd. Mote, x

t
i

2) Syavel burna y 1ootnaron
23) | Toe? bo bub buclaa wy
aly) | Sorell, Nuyvulo, -

 

 

 

Hav} Pazesh Tbhvtal, no
Aiotl  vurney. Apoxod 1
Chuang 4 Rect Soran

I. “Vogl” _ Levis Brn Liddy — Konnat: Pad
a4) | Arnrutharrs Mons 4

 

 

 

Bb) | Pohl Ds dd Vecl we,
BY) i Cronesh. Pada Ne d6r Lune

 

aL) , Oils Pe Ch? pret agen?
22), Dore unl hun Ning ‘Challe.
|

 

 
 

= Case. 2:19-cr-20026-GAD- EAS ECF NO. 110- 5 filed 09/05/19 PagelD. 697 = 14 of a

 

Ciena eine

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

; &
% f gt - al Le
OMe Pratanri Lurpy Chute fapall®
in, (hr LL but Lardy

 

 

 

 

 

 

 

 

a) Sa pacha Fanthopgans.
. #2) Vig ho [ Dotta

43) btrap Dos wads” |
#4) mgm Kaw? lla x

__ karamuire d A xX
aragala NK

 

 

 

 

   

65) Sun?/ mandhay
+6) | | Sef ban Ab Midd a
oD) Sulas L Ara pal
. 42) | Me hes), had. ken Cumoance

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

44) | Ragesh ko Haein by . P
5D) Mannsa  Peod os .
ao 5) Sas krishin Yadlov — Chiatlemduda..
_ 52) | Rahul Lamon - Goaptha.
a ®3) Bharath four Mery talon
4 ——— 54). Afr 2 Che Are pores. _. ae @)
a 5S) Sagar Lanele ly
_ 58) | Pavir Kalyan -f
= 52) Naxsirehy “Rao ARalrans cri)
BR) Vis hal Anunaud a v -
54) | Gopi fvtthng  Crutte |
60) Shara lh seme Hharv)
6 Gan du laws ae ashe Cavey xX

4 be lL Sup, pale ene

/ . ! dp NOM. Shndes p .
66) Venvato 40! Niwrwl Messhala.

a 65) Sideha Thuni kapale Xx

. od 66); Syxt here él Catia ss»

 

 

 

 

 

 

 

 

 
268) eat Chand __ Machotla_

i
a
i
t

 

 

68)

67) |

|

|

|

i
ma

 

 

B) |

 

Saf Choxan . Ladd patty’ * _

SyoHa_ Gone how A

 

Veenadhvs Pil, Pamids

 

 

 

 

 

PM

 

 

#2) ||
73) :

cay pel Read, Sobipuxtn

V

Some Sheet. S Bad, _pauttola

Nona . Lumar:

 

F4)|,

a
x.

 

 

 

 

 

 

fa s « a
Sar Celerra Crary’

 

 

 

 

Mahuth bade, Ppbelrxr

 

 

 

 

 

7),

 

VA (jp Dy fhuimas§ fp me P) co

Sal b Gude dul —~)

 

 

 

 

 

NK De 8

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

— 78) Yog 2a L Pimmula
_ 74) Siddith Sentero ~AP
a 80) Ses Lantt, H a
_ & r ) Brehondtcl oe ce
5 8 Y), Favan Le
— 83) ), Frakas), Rddig  Lankalo.
Su) | Prudhyale. Ltt, MA
a Q5) Ma tepa.- _s. - Ochi oth es

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case 2119-cr-20026-GAD-EAS ECF No. 110-5 filed 09/05/19 PagelD.699_ Page 16 of 35
= ooh . Ce
a i) Hitesl. bunrat_ . | Sumtaap alle — @)
= 2. Aslam Rashe Share @)
su 3) Goopi_Shonleat __Pedény Korma = é>
-4)! Remo Pap — Mannava — &)
a 53) Del van Singh, - &
TO) Arf Buren blonde  -
-_t) Venkat keel Penna — ?)
A &) Gayat- ab Mobamenadt — — P)
Aa , Prbacugi SB kanthasla ~~ &
—_Id) || MehSt _Merenes... ~Caurzode_= @
we it) / Thuwna [an Soames, — @)
=) Beano hula Deera Ladd
13)! Shutats Ledley bane .
a - le) Abhilass benny Aud do
~'15) Asha ideo
1b Seve h wnat Crdorvoles
—'4t)  Abeed  Verntates4 totha
1B) | SrPkamthr E
9) euisha
“ap. Sushma. A
A) _ Vena-_k
= 29) Swrtash  haddag ke
— 23) roand). Baaut.e _ |
° Re, di Sar Vere prea acl Vadeaw Caver! — P)
2D Alarah huroay big
2.29), Soliourarn _. Suinivas_Mactdy
a 2) Divee Sree. ~
a TG) Prac! ke Keel dy ;
- 24) | Last Lally. Politi _
aeon WH po... ve, a) » @. a

 

 
Page 1Z.0f 35 _

 

 

 

 

 

 

 

 

 

 

 

 

  
      
      
       
    
 
  
    
  

  

2 ah _Nohamemad

Pattie Sit Korthatla -

oa _NehSh _Masrrrgs ad = — _6&
of Thumal a 7 Sam LL70 —_—

eal gy ay
a oa Shotts fh Bade. bike _
o % a puma buds to vn

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
   

 

 

 

  
    
        
    

   

Cna- Bo = .
Santas h Reddy 2. an Oe
2D ang Bonube ce
26) Sas _. Vane fOVab AO Vad cdnw Cave vey) -~@

 

 

 

 

 

 

a et D) i Alarah  kumay hdd, . |

“ 26) | Solégurar Sainives ay
a 2) Dives Sree |

 

 

 

 

 

4 Prelhurke Peachy ee

 

 

if
i -_ 29) | aati _ Lcd liso _.

pSudblvas Yaclea/. _ Buseboitna -

_V ‘él , veces, P enn
— envaly Pao eta - A |
— Lavaclithak Beddy.

 

 

 

 

 

 

 

 

 

 

 

 

 
BT Gover buy, Lad dy. mM ig) veel

34 | Mani Livan
40 | Cou boar Duy tuba. Howes vi
4)  Mvhpmmed atbay  __
42 Vanquy  Dheevax — Krrat bud d, = ph
_ 4-3 | So? Si WN re —~ —
a ey Beran feta. \ Paddy |
_ &G& 1 Veni nla Sa? Mal vane Metshola x —
_. 4b Lore ht ba Svipusann, ee —_ ph
49 | Teraswoini pba. —>? h
we)
4S. Av Seu Pras Niremasactla = pr
44 Boddurder Leddy “dfn Kasi bid dey — ph
5D Subbogvasu — ph
3) Mania. Vopr — p?
. 52 Paovish Ud d Ponthet? — ph
53 | Kroun feu? Medi ee — ph
5¢  Swinivas _ Lownie — ph
. 383 | Row! chandhax. Bd Crops: uv tdly _ ph
6b Sandee. Pula kwoff — ph
__ bt Vomsh} false po. dL, : — ph
SB.) Manna  Oolle. — P)
1 _— ph
_. 54 Sunil Leavy Botan» ro. P
__ 80 - MMi thi} ene€pa iL ity ~_ Pp b
. 6) Pitan Sree fSultlbtr — ph
a 62. Chak Tonga. Sal Luray. Vallurt = pb

_ Case 2:19-Cr-20026-GAD-EAS ECF No. 110-5 filed 09/05/19 PagelD.701 .Rage.480

 

3y | Sudhewr  ' Ona lerkur
BS. Monjgunath Gunde pep
36 Rajasheloas anta

 

33 Sande p Lata

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

63 Legttha | _ Surepanenr” Ph

 

 

Ze : Gb oA év 9d @, /, ah

 
 

 

 
   

 

 
   
 
    
   
 
 
    
 
 
 
  
 
 
  
   
 
  
 
 
 
 
 
 
    

—_ Mo>ymmed ~ AL bie _
~~, 427 Vian Cf Phys rag Caavy val fad du,
ce AB ab Ser Save) | _ ust

- |
op. _becaunv ran Ped dig ~Thade tatapalle

f

a HS Veneta, Oy? uta { umes iv) eshals
_ 46 Rove bu! be Sa puxon,

a AI Lefasuain | BpMea, ce
AE. | Eee wy fumear  Nimmagackly .

 

 

 

 

 

 

 

 

a BO «Sud bogra4 ee se
ee I Manin OF TO —
BR _ Po bash. ed day Pon HrakP
OB Bron te’ Ve to:
a | | Sw'inivas Larry?

B35 Row! _chandhar fag Cap
BE Sunde tle kaapT
. E2 Vashi Ea kepo lly

on PE Manas Oplte, a
a BI | Sunt! hunny Doda - L
on OMA E) Lenepe
oo Piraa Sree Bulla ,
$2. CAtonya Sab tumay valhary® — ph
_ 63 Pap that - _Surapavent® _ —__Ph
_ 64 Pawan kumar Lede, Adhraly.- eb
- oo 65. Arun Vumay roth... — ph
Be o£: > Santhsh. heanay Kapypte la — ph
ae ST Samy Sarna la — ph
| 6a | “yeneay badd Mand; — ph

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

     

 
  

args a

 

 

 

 

 

 

 

 

 

 

 

 

 

2 7b " Pimihe tan Aut? fp
: ‘xn Kean Vadeu tothe
_ 72 Venkat -— oe busann

 

 

 

 

 

 

 

 

 

 

 

 

 

4 eae ~ agi
a : rial :
FH | S/n Aevethy.. Lilla

7 - Fb = kan Hs by van Medap _fMnelel)” °

__ #w 7 Daag protec! Alot

FB pOyeth neta

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TF |, Kage Hy Af
8g bytthna Kal asnple

 

 

 

 

3)

| Alouetsan badd, Dudupt. |
84 val Ghana A XVth. ta yeh Masel, Ti Lyte HEAVY.
£ a d ~ ph
wi 3 _ key Phe kaw Corin 2 Boe rs le 4 P
jp By SS Wa¥O. VONOD... Pale nieppun _-— gh -
85 I —hrudhyy Brclily — GPS andy. bh

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

86 Yasuante~ key Lles¥Ls. pe
84 Masha Katpalh, —P ‘
| Sarbashiiea Nesprea aP — ph

 

 

 

 

 

oo RY Santash Luray Pur at pitt ~ ph

~ 99°.) Sn'kank _ Ladd, Pament — ph
oe 9) | PAani Lot a ph

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

- 42.1 Sinulbs /} tavayancy . — ph
43. [_ Pravewn. ku miay Fdgakeur ~P b _—

 

 

 

 

 

 

 

 

 

 

 

 

| Leatash Yel, beaks la PA

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

95 | Lyanfar burn Mayor —ph

4 | Roly kattn ph
_ ot | _M ehimradagie’ _Frnsidiany — PA _
ery. ae, —
IG aondish kody wy —_ Ph.

100 Preivetn.

 

 

 

 

 

 

 

 

Or | Srtkan/s |

 

 

 
—~Cgse 9-19-er-20

 

 

 

 

 

 

 

 

 

 

 

 

  
   

 

 

  
 

Set Exes, baa “lisa

—Aavetn had —S erdeyp Ls — ph

wnt 04. fy A back a Tig 0...

Z| _ £3 . Cees pro Aah bly — gg 4% 4, LAU) - ph

4 8 Sresairen Pale niageun _

— $3 adh Pack, ~GPsutanea. bb

_Z _ . fe 7 Yaguinn lA kolturte, ied

oe St Vinisha__ Kactppall, =p

[a BB I Samébas! bila. ; “Mey Ae xP ~~ @h

84) Santesh Lemay. ~ Badypuoan ~ pb

GO , Sn! Kanth. badd, _ foment —ph |

9) | __- ani Lato — ph i
y = ph

s 43 i Pretisewr Leora. a Ake ~P 4

44 | Fravash Yau, lunkala_— Ph

95 | kyranfae bunatie Mavopu ph

8 Rohl — baton ph

—— Makemadagi _ Cesulamy, Ph

TE ae |

44 Jagadish — Lodun®  — Ph -

| Pre Vveby).

Sirk kan |

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   
 

     
    
    
     
     
   
   
   
  
 
    
    
 
 

B21

 

 

 

 

 

 
 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

     
     

 

 

 

 

 

 

 

 
Case 2:19-cr-20026-GAD-EAS ECF No. 110-5 filed 09/05/19 PagelD.705 Page 2

) iS Aah and "Poanudyla

eevnnnns Sindhu Vasaryy?
_ 105 5) _ Phan oda

  

   
 

fe iii Bo Shu lex *

  
 

 

 

 

 

 

 

 

  

 

 
  
 

. 9g) . Vads
as yn
ef job) Ss Godara
a | Jog) Fpahin’

 
 
 
 

 

 

  

P —
ln

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

en __ Hoy, TL birupa Phy? - - -
ID) Sab. Pwr
— 1a fam Chandva.
| teen ne

 

 

 

 

 

 

 
Case 2:19-cr-20026-GAD-EAS ECF No. 110-5 filed 09/05/19 PagelD.706. Page 23 of 35°

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

») L SouvaL _ Deo MUI. _
2) | ph Driip_: Chena gare”
3) Prachi’ Alaa Chaltta
a wt
Z ”) Muheshwas Lady &
_ 5) Siete: S-
& ) Pramod Colla — )
%)_ Sri Gu A rn OD)
g£) _ Asay Dassen AYO Dobe.
q) Vene 18a Kamenishett,
a AD. phishute. Dug glyile
_. Ww) | SAdia pYadtnna berry Bhinta pally
12) | prlynewa .¢ .
Ao POR yee
3 D ¢. epoltas é...

 

te) || Saenmon_Gharth-

ni 15), Klans|mtbn. bab.

a Ig, ) ! Hadstirr Fag os he Que

_ 4) | Ser Pburorr bead by. aly
16) Poeze.  Mencte

— lq) Rages h ketene

J
d 1) Sarla L Oau dese!

20) Mahroroc  — Vounsds Av Dee.

 

 

 

 

 

 

we ube We) Keerriar Op eiie de”
a oe beers: Sarma 7

Qy | eras be howe tH Piddo
28), Mintel = Bo Coa Zao
co OB) MEL) | Che pur f

 

 

 

 

 

7 24) | Vise Curr Beaver .
2) | Vonuwata, pra bu Laerbiihu- kocbee.
94): Sar Madh Ladd, - Oh. Mo. Rec

 

 

 

 

av | wy ft c AA

 
05/19 P

 

 

 
 

 

~ Case2:19-cr-20026-GAD-EAS ECF No. 110-5 ° filed 09/0571

i

1 85) Ass none Kaa ergs o

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

- _
{

A -
|

eae i
Been ene
i
|

ot . i
-
i
|
i
i
if
ET

t
a arate a

i
i t
|
i

 

 

 

 

 

 
Case 2:1

9-cr-20026-GAD-EAS ECF No

i

 

. 110-5 filed 09/05/19 PagelD.709-

 

 

 

 

)

 

sacrmcceemnnigg gi essetirra mens

sername erent

 

2)

 

Adi 5h ankata....©
k bshoré Cumoah~_

  
  
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
_ Case 2:19-cf-20026-GAD-EAS ECF No. 110-5 filed 09/05/19 PagelD.710

i

SAE
|

Whe h - 1235

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a _t . __ phon Soma. !#50
os . | Sai Santsh - 2500
. Atri! phadlt- 2500.
|
egypt en {
eeenoneynsenncn nition in se _

 

 

 
ies

 

 

 

 

sengerretstoten ese a s a snout “ES

x mms & Bo

   
  

   

roe _. SQy legen penne ne nmraynneeirtmitn tcc
6 hg | a Bor a a Lo esos ninne setangtormeni te conceit sce
By La bys ES a a ab wf

PP g000 |
_ Reanitsh te eae fy + —_ 30 .

: bos he. Dalby —Buehonnlla  !Bop—-—

snuromnnrntngscr

i. ps Sosy Manner Paddy Meta 2800. _
L. Sree Me phAtD Sokkule— 2 B00. ee

 

 

; r oso eng
—j——Reapoe— ei —
Mente. Sunimay. _ Saadu- 2 Boo

a i Swe tra Souduss IS B91 9 rere !

. 4 Sushaxos — (anddou 7 BOB

‘sb Cyoud — Koy pie AB OD
; | = OBO.
_ “fe __Sughth —Aanadpoaina, =
: oe badd Reo. Pobly 2 BBD
— Bshuoin Yodau—- ‘Nimmnale. en BBO a
- 2 BOD.
i _fLolnc. lie Baty ——

peacetime “

al

esnnceuntt crt pernn

| Ravan luca V Voda pol a — 2Bp pb

tes buco — Sea tha@ 2 RE
oe BOO

eceeerrmncor cane

kL Ses Dotta.

Santosh edly.

| Bhosalh fal. ;

 axrewlle. e 2600
Yall i 2600.

Aore

   

 
 
  

 
      
 
 

    
 

me BDO

 Adassh.. ot

 

      
  

Row. Baty _ Rok bon 2 BOD
o Rornn Pao > A BO

ch hageens
+

i
i

ee

 

 

on.
aI
a Bae Eandnch ieee BBO Oe

 
    

 

ol Ashwin Yodaw

S$ Biota bh

 

oe ae § ae ee

Caddy Yoso -

Wertectn Swear Jtacddus ne

Swe tre Sdudurs’ =
Sudhatad  Gaddam 7
Satis Gyoud Komyndeh
Suit Dnneborina —
Sada Pao Poti -
Ninamale. =
Kolon. +wilot. Pocll, >
Raven Lurooy Vowtdsfalli .
Mite buon Sea tha =
Sar Datta. =

     
   
     
       
      
   
  

 

Lally CAterla-
[3 hota Hs Kod dy Yedavall’

  
 

 

 

 

 

Novel keehovre  —

 

 

Adasgl, Veddu “Dom.

 

 

 

Romy  Peddu  Ronra -

  
 

 

a)
2 Rama Poo’ A ~

  
 
  

 

Ane th ae

“ee deweahd erkok nn, tee.

 

 

 

 

Sai Gavaneh  Deshohbottiny -

  

 

 

 

 

 

 

 

 

 

 

2500

800

62, 000° a
— 2 Boo

 

 

 

 

 

i a a vip utenane ae
ail

 

   

 

 

Bhishal oo

  
 

 

 
 

 

 

/
7
|
d
|

iPS

ie
| |
|

Case 2:49-cr-20026-C Pi aes Sco

fhe Pr

Prigten

 

 

 

 

   

 

 

 

 

 

ee

aby Gb BIR

   
    

 

 

 

 

 

 

 

 

 

 

 

ep AW OD To FR, BBB
wo Ne Bawa ~ cl DOSE.
; ureh = Atei~ § 46, tee
a con Avinas Ain AE leG. Cand 26,800,’ 19,86,800 4 0 mn
— + Surah - fan ae Los o4y/- TO
— Venta - mount - L84,025J— —_
= e Uinesh — Bova - 1 ¢q,966 /- i . _ :
. ~ Beoap ~ Bat 4,90, 6F6 Jo wo I
rename bf emp s inimema a poe .

 

 

 

 

 
 

_ Case 2:19-cr-20026-GAD-EAS ECF No. 110-5

Su

7 Ai ha at = , ant

Sat cantos A

filed 09/05/19

   
  
 
 
 
 
 
 
 
 
   

PagelD.714 Page 31of35.

i
i

 

 

 

 

“Ts cya

Pramod _

 

 

 

! Odar Bhones,

bu Kanth bole

 

-_ 1500 -pald.

 

%

Law Roam :

haar)
J

 

 

 

 

 

 

 

   

 

/ Sov Lond -H

_., Bala. Chandan— Cbd oo
fetid hash Me —laddy (saotep ) ne

 

 

 

 

— asin nlePer da teeters ann rrmenan  asenenee a
Pada ni ee .

 

 

 

 

 

Viewheona Grovin...-- Eb Ten

 

—_Sl6- 649-0180

Sad her

 

 

101 be,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
~- Case 2:19-cr-20026-GAD-EAS ECF No. 110-5 filed 09/05/19 PagelD.715 Page 32 of 35

  

 

penser nit pea AS

Open ~ bol = 12, 36,478 nen nena vetoes

 

 

 

 

 

 

 

 

 

 

 

 

 

 

f-) 2, 00,009 — ARE _
eee Co
., 10, BO, a BO
oO - Cr) 5o, oOo ~ Chondrapab _

 

 

 

 

 

 

 

 

 

 

TP, 20, ute .
we BO, 000 — Asha. moter

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| oO TW, 80, 448
a — 6,420 579 - - ;
en ee a 142, . 085 - Bam cae ~ :
One To cacti 3 5 z; le 5 Bima _
— esr pecan oO eeepc team senaiene rene Ti tt 44 a tne neainntnecsitemnae mnt ett ale a ~
a a et T,93,000 — ine (3 wary ne

 

 

 

   

33; 3, “+4 Ge

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

- Ne 84, 66 - “Bove Cunt)
cw Mende ced cree _
2 5, ; 6 2, 5 6 os internet tame LAY
| —_ ) iy GO, 676 - Sara (Pacey)
™ . Mo cneelh meni . .. ee
so nena ee deme
en “T nan OT
“ . en
- - | / 7 etcetera ty ENTRAR A OC
aa cp ee en nina ce
mo —\— i
ce . ob cnn erence _ oe cee a eeeesnmen
" : a

 

 
Case 2:19-cr-20026-GAD-EAS ECF No. 110-5 filed 09/05/19 Pagelb.716" “Page 33 of

nen abe

    
   
     
   
 

HBB

Do —

oa ne nD rpg

 

 

a + 300-

 

 

 

1 400
a “<5 Bos iu

a

   

 

 

 

 

 

 

 

 

 

ith-Sune 1 ETF
Sees,
Rade 2 6 D

 

 

 

  

 

 

 

 

 

oS,

2g, 000 ,
a” 000 -~-Wiy

4 BF 000 —

esith Suit IO 7 2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

LR ;
i | ex BODO - : ;
( —yp01° vy - _ ae eee
pe 902" 5 2
be Ld b “ + ro
sceetiteeanend hy Sn i? : te
| 6 5S G oF 7
\ Q arene a ener a
ED, 2500 = art /
ai 2} Se Sire
: = 3500 ee ame.
ee TT Surah 5457

 

 

 

3 B00 - Sant

 

KHyl Aoo

Vinesh

 

 

 

 

 

 

 

 

 

 

- + 100 375p- Aneto 4
_. ce eh BG BO P bee
* } - “Remeron rte
7 4 3 Ge Go 3 64 4-5 F
~ 3000 . nO = A cop
seo aoe F346 _ ._ Viinash - 1000 4&5 7

 

cee OE

 

 

 

 

 

 

_ - 50 dng
: . . G60 7

 

 

  

 
 

 ....Case 2:19-cr-20026-GAD-EAS

PagelD.717 Page.34.of

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

  

 

 

  

 

 
   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[om Bada” 3 6
ee th saa BO 19
— _ £128,000 oo
| _ 5° 00D — att etn navn
Ton nen eee AD _
ee oo 4,58 DOO _ “006 = phan —
f ae ~ pentane nent tee _. . BAO /3
a . _. 100 - Uddy
| 1u-%B 009 OO 100° Sadkns
Fe Orne nl EOO Saad
by 201 oO “Ee +
a Spa eee on - FEE F- . 4
| + _U +1399
[ por 0 evntnetcsenernne _ 7! —
oe | g.° G oF?
I \ “ _ ere
~ Lo “EOD, _ 2500 = ary)
I, i
a | FF
nt 4 IF _ .
ET a Sug BF
i 3750 3 BoD - Sante yl 000 Wines,
| t Wea S8Eb- Anap ——asy
_ Oo
| 300.
GBTe 7364 es
_ I 73000 intah 88 = PA ap
i Anoop: #34 6 eects Uinta! = {bod seinen aout dp. & 8 FF
i * eo
i oe nee ~ 50 ~ediney
— . _ 460 7
— — _ tt ; FEO
_ _ 5 35e-
_ i : “ Do o 6 6 - Momagr
priestess tegen ancstrnpaty meres tho steeentneeus : - 3 5 ¥

 

 

 
S ECF No..110-5. filed 09/05/19. PagelD.718 Page3

 

 
